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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    TEXARKANA DIVISION

STANLEY HAWKINS, INDIVIDUALLY         §                     CASE NO. _______________
AND AS INDEPENDENT EXECUTOR           §
OF THE ESTATE OF ELIZABETH            §
PAIGE HAWKINS, DECEASED;              §
AND LACY PAIGE McKEE,                 §
                                      §
       Plaintiffs,                    §
                                      §
v.                                    §
                                      §
NEXION HEALTH MANAGEMENT, INC.;       §
NEXION HEALTH AT BOGATA, INC.,        §
d/b/a REGENCY HEALTHCARE AND          §
REHABILITATION CENTER AT              §
RED RIVER; NEXION HEALTH              §
LEASING, INC.; NEXION HEALTH OF       §
TEXAS, INC.; AND NEXION HEALTH, INC., §
                                      §
       Defendants.                    §


                                PLAINTIFFS’ ORIGINAL COMPLAINT


TO THE HONORABLE COURT:

         Plaintiffs, Stanley Hawkins, Individually and as Independent Executor of the Estate of

Elizabeth Paige Hawkins, Deceased; and Lacy Paige McKee, file this their Original Complaint

complaining of Nexion Health Management, Inc.; Nexion Health at Bogata, Inc. d/b/a Regency

Healthcare and Rehabilitation Center at Red River; Nexion Health Leasing, Inc.; Nexion Health of

Texas, Inc.; and Nexion Health, Inc. and for cause of action Plaintiffs would respectfully show the

Court the following:




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                                              I. PARTIES

         1.1      Plaintiff, Stanley Hawkins, an individual, is a citizen of the State of Texas residing

at 940 CR 3350, Avery, Red River County, Texas, 75554. Plaintiff, Stanley Hawkins, sues in his

individual capacity and as the Independent Executor of the Estate of Elizabeth Paige Hawkins.

Elizabeth Paige Hawkins was a citizen of the State of Texas and a resident of Red River County,

Texas, at the time of her death and she left a valid unrevoked written Will naming the Plaintiff,

Stanley Hawkins, to serve without bond as Independent Executor of her estate. The Will was

admitted to probate on March 13, 2013, and the matters with regard to the estate of Elizabeth Paige

Hawkins are pending in In Re the Estate of Elizabeth Paige Hawkins, Deceased; Cause No.

PR07383; In the County Court of Red River County, Texas.

         1.2      Plaintiff, Lacy Paige McKee, an individual, is a citizen of the State of Texas residing

at 940 CR 3350, Avery, Red River County, Texas, 75554. Plaintiff, Lacy Paige McKee, sues in her

individual capacity.

         1.3      Defendant, Nexion Health Management, Inc., is a Delaware corporation maintaining

its principal place of business in the State of Maryland, and may be served with process through its

registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

Texas, 75201.

         1.4      Defendant, Nexion Health at Bogata, Inc., is a Delaware corporation maintaining its

principal place of business in the State of Maryland, and may be served with process through its

registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

Texas, 75201.




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         1.5      Defendant, Nexion Health Leasing, Inc., is a Delaware corporation maintaining its

principal place of business in the State of Maryland, and may be served with process through its

registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

Texas, 75201.

         1.6      Defendant, Nexion Health of Texas, Inc., is a Delaware corporation maintaining its

principal place of business in the State of Maryland, and may be served with process through its

registered agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas,

Texas, 75201.

         1.7      Defendant, Nexion Health, Inc., is a Delaware corporation maintaining its principal

place of business in the State of Maryland, and may be served with process through its registered

agent for service, CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas, Texas, 75201.

                                       II. JURISDICTION AND VENUE

         2.1      This Court has jurisdiction of the claim pursuant to 28 U.S.C. §1332(a) because a

complete diversity of citizenship exists between the parties and the amount in controversy exceeds

$75,000.00.

         2.2      This Court has venue pursuant to 28 U.S.C. §1391(a)(2) because a substantial part

of the events or omissions giving rise to the claim occurred within the Eastern District of Texas.

                               III. AGENCY/RESPONDEAT SUPERIOR

         3.1      Whenever it is alleged in this Complaint that Nexion Health Management, Inc. did

any act or thing, it is also meant that its agents, servants, employees, ostensible agents, agents by

estoppel and/or representatives including, but not limited to, nurses, aides and other caregivers at

Nexion Health Management, Inc. did such act or thing and at the time such act or thing was done,


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it was done with Nexion Health Management, Inc.’s authorization or was done in the normal routine

course of the agency or employment of Nexion Health Management, Inc.

         3.2      Whenever it is alleged in this Complaint that Nexion Health at Bogota, Inc. d/b/a

Regency Healthcare and Rehabilitation Center at Red River did any act or thing, it is also meant that

its agents, servants, employees, ostensible agents, agents by estoppel and/or representatives

including, but not limited to, nurses, aides and other caregivers at Nexion Health at Bogota, Inc.

d/b/a Regency Healthcare and Rehabilitation Center at Red River did such act or thing and at the

time such act or thing was done, it was done with Nexion Health at Bogota, Inc. d/b/a Regency

Healthcare and Rehabilitation Center at Red River’s authorization or was done in the normal routine

course of the agency or employment of Nexion Health at Bogota, Inc. d/b/a Regency Healthcare and

Rehabilitation Center at Red River

         3.3      Whenever it is alleged in this Complaint that Nexion Health Leasing, Inc. did any act

or thing, it is also meant that its agents, servants, employees, ostensible agents, agents by estoppel

and/or representatives including, but not limited to, nurses, aides and other caregivers at Nexion

Health Leasing, Inc. did such act or thing and at the time such act or thing was done, it was done

with Nexion Health Leasing, Inc.’s authorization or was done in the normal routine course of the

agency or employment of Nexion Health Leasing, Inc.

         3.4      Whenever it is alleged in this Complaint that Nexion Health of Texas, Inc. did any

act or thing, it is also meant that its agents, servants, employees, ostensible agents, agents by estoppel

and/or representatives including, but not limited to, nurses, aides and other caregivers at Nexion

Health of Texas, Inc. did such act or thing and at the time such act or thing was done, it was done




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with Nexion Health of Texas, Inc.’s authorization or was done in the normal routine course of the

agency or employment of Nexion Health of Texas, Inc.

         3.5      Whenever it is alleged in this Complaint that Nexion Health, Inc. did any act or thing,

it is also meant that its agents, servants, employees, ostensible agents, agents by estoppel and/or

representatives including, but not limited to, nurses, aides and other caregivers at Nexion Health, Inc.

did such act or thing and at the time such act or thing was done, it was done with Nexion Health,

Inc.’s authorization or was done in the normal routine course of the agency or employment of Nexion

Health, Inc.

                                              IV. FACTS

         4.1      On October 24, 2012, Elizabeth Paige Hawkins (Ms. Hawkins) was a resident of a

nursing home owned and operated by Nexion Health at Bogota, Inc.; Nexion Health Management,

Inc.; Nexion Health Leasing, Inc.; Nexion Health of Texas, Inc.; and Nexion Health, Inc., known as

Regency Healthcare and Rehabilitation Center at Red River located in Clarksville, Texas.

         4.2      Ms. Hawkins was a 50 year old lady who suffered from a severe diabetic condition

requiring continual administration of insulin by an insulin pump. Ms. Hawkins’ physician provided

orders to the nursing home which specified the maximum range for Ms. Hawkins’ glucose level.

When that level was exceeded, the staff of the nursing home were to advise the physician. On

numerous occasions, Ms. Hawkins’ blood sugar levels exceeded the level required for reporting to

her physician and the staff took no action to report the excessive levels though, frequently, the

recorded levels were dangerously high.

         4.3      Ms. Hawkins suffered from depression and dementia. This condition contributed to

Ms. Hawkins’ tendency to leave the nursing home facility. Nursing home residents with this


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tendency are classified as a “risk for elopement.” At all times material, the Defendants’ records

concerning Ms. Hawkins’ care noted that she was a risk for elopement. A resident, who is a risk for

elopement, requires the constant supervision of nursing home staff when the resident is outside the

nursing home building.

         4.4      In the early morning hours of October 24, 2012, the staff of the Defendants’ nursing

home allowed Ms. Hawkins to go outside of the building without any supervision. Defendants’

facility is equipped with a Wanderguard System which is designed to prevent residents, who are at

risk for elopement, from exiting the building. On the morning of October 24, 2012, when Ms.

Hawkins exited the nursing home, the system was either not operational or the nursing home staff

intentionally allowed Ms. Hawkins to leave the facility without supervision. As a result of the

failure of the Defendants to properly supervise Ms. Hawkins, she left the grounds of the nursing

home and walked onto, and crossed, heavily-traveled U.S. Highway 82. As she crossed the highway,

she fell into a ditch, three to five feet in depth, containing a concrete culvert. As a result thereof, she

suffered serious fractures to her arm and foot, as well as other injuries. Ms. Hawkins, unable to

stand, remained in the ditch alone and in excruciating pain for forty-five minutes to an hour.

Eventually, employees of the nursing home who were outside on a smoke break heard Ms. Hawkins’

cries for help as she lay injured in the ditch some distance away. They went to Ms. Hawkins and

found her in great pain and unable to stand. Rather than immediately calling 911 and reporting the

injury and without making any report as required by law, but using a cell phone, they called

co-workers inside the nursing home requesting that they come with a wheelchair. Four employees

of the Defendants gathered in the ditch around the seriously injured Ms. Hawkins and, though she

was expressing great pain, they loaded her into the wheelchair and wheeled her back across the


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highway and into the nursing home. They placed Ms. Hawkins in her bed and when it appeared that

her suffering was too great to ignore, they decided to seek medical assistance. After an attempt to

load her in the nursing home van, her expressions of pain were too much and they decided to call

emergency medical services (EMS). The four employees of the Defendants then conspired together

to falsely report that Ms. Hawkins’ injuries resulted from a fall in her room. This path was chosen

instead of reporting how the fall actually happened in an attempt to conceal their own negligence in

allowing her to go outside the nursing home without supervision.

         4.5      Upon arrival at the nursing home, the emergency personnel (EMTs) were directed to

Ms. Hawkins’ room but none of the staff or persons with knowledge of the facts concerning her fall

went to her room or assisted the EMTs in providing care to Ms. Hawkins. The EMTs asked Ms.

Hawkins how her injuries occurred, and she told them that she fell while outside the facility. As the

EMTs were removing Ms. Hawkins, they repeated Ms. Hawkins’ version of events to the employees

of the Defendants who were involved in the conspiracy to cover up the actual events. Those

employees adamantly contradicted Ms. Hawkins’ version of events and stated that Ms. Hawkins had

fallen in her room. The EMTs, relying on the nursing home staff’s version of events, reported to the

treating healthcare providers at the emergency room of the hospitals that Ms. Hawkins’ injuries were

the result of a nursing home fall.

         4.6      Ms. Hawkins was taken to the Paris Regional Medical Center in Paris, Texas. She

was seen there by an orthopaedic doctor who examined and x-rayed her and found fractures of the

left arm and foot. The physician provided normal treatment by stabilizing the fractures and trying

to make Ms. Hawkins as comfortable as possible. Nursing home personnel returned Ms. Hawkins

to the nursing home at approximately 9:00 a.m. the morning of October 24, 2012, where she


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remained confined to her bed and room for the remainder of that day and night. Though Ms.

Hawkins continued to suffer as a result of her traumatic injuries, little attention was given to her by

the nurses and aides employed by the Defendants. Rather, the Defendants abandoned Ms. Hawkins

and failed to monitor her condition and allowed her condition to worsen, all as a result of their

scheme to concoct a lie as to how her injuries were sustained. The Defendants’ staff purported to

test her glucose level and recorded the level as much higher than the level required for reporting to

her physician. However, no report was made to her physician nor any guidance sought as to any

necessary adjustments to Ms. Hawkins’ insulin pump.

         4.7      At 6:30 a.m. on October 25, 2012, employees of the Defendants purportedly checked

the glucose level of Ms. Hawkins and recorded it at a level far above the level required for reporting

to her physician, and no report was made. Later than morning, Ms. Hawkins’ husband carried her

to the orthopaedic physician in Paris, Texas, for further treatment of her fractures. She was returned

to Defendants’ care at approximately 11:45 a.m. on October 25, 2012. Again, little attention was

given to Ms. Hawkins by the nursing home staff though her suffering was great. An employee of

the Defendants purportedly checked Ms. Hawkins’ glucose level at 4:30 p.m. on October 25, 2012,

and recorded the level at 468. Subsequent events would lead to the conclusion that her actual

glucose level would have far exceeded 468. Nonetheless, a test result of 468 was well above the

level which required an immediate report to Ms. Hawkins’ physician and the nurses employed by

the Defendants failed to report the reading. Again, there was no attention given to the insulin pump

of Ms. Hawkins.

         4.8      On October 25, 2012, at 4:00 p.m., it was noted by an employee of Defendants that

Ms. Hawkins “rouses slowly to verbal and tactile stimuli.” No further recorded attention was given


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to Ms. Hawkins for approximately an hour and a half. At 5:30 p.m., it was noted that Ms. Hawkins

was totally unresponsive, skin was cool to touch, respiration was labored, and they were unable to

get a blood pressure reading. A 911 call was made. Upon arrival at the nursing home, the EMTs

started CPR and attempted to intubate Ms. Hawkins but were unable to do so because of the presence

of vomit in her throat. They were able, however, to restore a faint heart beat and removed her to the

emergency room at East Texas Medical Center in Clarksville. There, at 6:18 p.m., the glucose level

of Ms. Hawkins was recorded at 1120, ten (10) times the normal level. The medical providers

determined that she had suffered cardiac arrest as a result of “diabetic complication.” Though tests

at the Clarksville emergency room concluded that Ms. Hawkins was essentially brain dead, she was

transported on life support to Wadley Regional Medical Center in Texarkana, Texas. At Wadley

on October 27, 2012, the Plaintiffs received the final medical opinion that there was no hope for their

loved one, and the sad, anguished decision was made to disconnect Ms. Hawkins from life support.

On October 27, 2012, approximately 72 hours after the fall, Ms. Hawkins was pronounced dead.

         4.9      The total lack of care of Ms. Hawkins by the Defendants’ employees, as stated above,

was the direct and proximate result of the Defendants’ failure to have in place policies and

procedures for the proper care of Ms. Hawkins and the Defendants’ failure to provide training and

supervision of their employees for the proper care of Ms. Hawkins.

                 V. NEGLIGENCE OF NEXION HEALTH AT BOGATA, INC.
                         D/B/A REGENCY HEALTHCARE AND
                      REHABILITATION CENTER AT RED RIVER;
                        NEXION HEALTH MANAGEMENT, INC.;
                           NEXION HEALTH LEASING, INC.;
                        NEXION HEALTH OF TEXAS, INC.; AND
                               NEXION HEALTH, INC.




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          5.1      Nexion Health at Bogata, Inc. d/b/a Regency Healthcare and Rehabilitation Center

 at Red River; Nexion Health Management, Inc.; Nexion Health Leasing, Inc.; Nexion Health of

 Texas, Inc. and Nexion Health, Inc. were negligent and failed to meet the applicable standard of care

 and the treatment and care of Elizabeth Paige Hawkins. Nexion Health at Bogata, Inc. d/b/a Regency

 Healthcare and Rehabilitation Center at Red River; Nexion Health Management, Inc.; Nexion Health

 Leasing, Inc.; Nexion Health of Texas, Inc. and Nexion Health, Inc.’s negligence in their care and

 treatment of Elizabeth Paige Hawkins proximately caused her death, as well as damages alleged

 herein sustained by Plaintiffs. Nexion Health at Bogata, Inc. d/b/a Regency Healthcare and

 Rehabilitation Center at Red River; Nexion Health Management, Inc.; Nexion Health Leasing, Inc.;

 Nexion Health of Texas, Inc. and Nexion Health, Inc. were negligent in the following particulars,

 each of which, taken separately or collectively, constitute a direct and proximate cause of the injuries

 and damages alleged herein:

          a.       Failure to prevent Ms. Hawkins from going outside of the nursing home
                   building on or about October 24, 2012;

          b.       Failure to provide supervision for Ms. Hawkins when she was outside of the
                   nursing home building on or about October 24, 2012;

          c.       Failure to have a policy and procedure for residents who were at risk for
                   elopement;

          d.       Failure to train and supervise staff concerning residents at risk for elopement;

          e.       Failure to maintain the Wanderguard system;

          f.       Failure to truthfully report to healthcare providers the nature and extent of the
                   fall which caused injury to Ms. Hawkins;

          g.       Failure to render prompt medical attention so there is no delay in seeking
                   necessary medical care;



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          h.       Failure to have a policy and procedure for reporting of incidents causing
                   injury to residents;

          i.       Failure to train and supervise staff in reporting incidents causing injury to
                   residents;

          j.       Failure to adequately monitor the glucose level of Ms. Hawkins on October
                   24 and 25, 2012;

          k.       Failure to have a policy and procedure for adequately monitoring the glucose
                   levels of diabetic residents;

          l.       Failure to train and supervise staff to ensure that the glucose levels of diabetic
                   residents are adequately monitored;

          m.       Failure to monitor and correctly use Ms. Hawkins’ insulin pump;

          n.       Failure to have a policy and procedure for monitoring and the correct use of
                   insulin pumps for diabetic residents;

          o.       Failure to train and supervise the staff in the monitoring and the correct use
                   of insulin pumps for diabetic residents;

          p.       Failure to report the excessive glucose levels of Ms. Hawkins to her
                   physician;

          q.       Failure to have a policy and procedure for reporting excessive glucose levels
                   of diabetic residents to their treating physician as directed by their physician;

          r.       Failure to train and supervise staff to ensure that excessive glucose levels of
                   diabetic residents were reported to their treating physician as directed by their
                   physician;

          s.       Failure to control the blood sugar of Ms. Hawkins;

          t.       Failure to train and supervise staff concerning the deleterious effect of trauma
                   for a brittle diabetic resident; and

          u.       Failure to have written policies and procedures for enhanced monitoring in
                   reporting of brittle diabetic residents who have suffered trauma.

          5.2      Nexion Health at Bogata, Inc. d/b/a Regency Healthcare and Rehabilitation Center

 at Red River; Nexion Health Management, Inc.; Nexion Health Leasing, Inc.; Nexion Health of

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 Texas, Inc. and Nexion Health, Inc. are, in all probability, negligent in other respects in addition to

 the above and Plaintiffs reserve the right to amend their pleadings to conform to the information

 uncovered in the discovery process.

                                             VI. DAMAGES

          6.1      This is a suit for injuries and the wrongful death of Elizabeth Paige Hawkins. It is

 brought pursuant to the provisions of Section 71.001, et seq and Section 71.021 of the Texas Civil

 Practice and Remedies Code, known as the Texas Wrongful Death Act, and Texas Survival Statute,

 respectively. Plaintiffs’ cause of action is based on Defendants’ negligence and gross negligence.

                                          A. Survival Damages

          6.2      In addition to the wrongful death damages that Plaintiffs are entitled to recover from

 Defendants, the Estate of Elizabeth Paige Hawkins is entitled to recover certain damages occurring

 to Ms. Hawkins before her death and as an expense caused by her death.

          6.3      Elizabeth Paige Hawkins, at the time of her death, left a valid unrevoked written Will

 naming the Plaintiff, Stanley Hawkins, to serve without bond as the Independent Executor her estate.

 The Will was admitted to probate in the Probate Court of Red River County, Texas, on March 13,

 2013, and the Plaintiff, Stanley Hawkins, was appointed as the Independent Executor of the Estate

 of Elizabeth Paige Hawkins to serve without bond. On March 13, 2013, the Plaintiff, Stanley

 Hawkins, filed his oath with the Probate Court of Red River County, Texas, to well and truly

 perform all duties of Executor of the Estate of Elizabeth Paige Hawkins and he appears herein not

 only in his individual capacity but as the Independent Executor of the Estate of Elizabeth Paige

 Hawkins.




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          6.4      Before her death, Ms. Hawkins suffered extreme conscious physical pain and mental

 anguish as a direct and proximate cause of the negligent acts and omissions of the Defendants.

          6.5      As Independent Executor of the Estate of Elizabeth Paige Hawkins, Plaintiff Stanley

 Hawkins is entitled to recover on behalf of the Estate of Elizabeth Paige Hawkins compensation for

 damages suffered by the Estate as follows:

          a.       As a direct and proximate result of the Defendants’ wrongful and negligent
                   acts and/or omissions, Elizabeth Paige Hawkins suffered extreme conscious
                   pain and agony until her death. Plaintiff Stanley Hawkins, as Independent
                   Executor of the Estate of Elizabeth Paige Hawkins, seeks recovery for the
                   physical pain and suffering and mental anguish suffered by Elizabeth Paige
                   Hawkins prior to her death.

          b.       As a direct and proximate result of the Defendants’ wrongful and negligent
                   acts and/or omissions, Elizabeth Paige Hawkins incurred reasonable and
                   necessary medical expense, and Plaintiff Stanley Hawkins, as Independent
                   Executor of the Estate of Elizabeth Paige Hawkins, seeks recovery of the
                   reasonable and necessary medical expenses incurred by Elizabeth Paige
                   Hawkins prior to her death.

          c.       Elizabeth Paige Hawkins was buried in a manner reasonably suitable to her
                   station in life. Plaintiff Stanley Hawkins, as Independent Executor of the
                   Estate of Elizabeth Paige Hawkins, seeks compensation for damages to her
                   estate for the reasonable and necessary expense for the funeral and burial of
                   Elizabeth Paige Hawkins.

                            B. Wrongful Death Damages of Stanley Hawkins

          6.6      Stanley Hawkins is the surviving spouse of Elizabeth Paige Hawkins. As a direct

 and/or proximate result of Elizabeth Paige Hawkins’ death, Stanley Hawkins has suffered damages

 in the past and, in all reasonable probability, will continue to suffer damages in the future as follows:

          a.       Loss of companionship and society to including, but not limited to, love,
                   comfort, companionship and society that Stanley Hawkins, in reasonable
                   probability, would have received from Elizabeth Paige Hawkins had she
                   lived.



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          b.       Emotional pain, torment and suffering experienced by Stanley Hawkins
                   because of the death of Elizabeth Paige Hawkins.

          6.7      By reason of the above and foregoing, Stanley Hawkins has been damaged in an

 amount in excess of the minimum jurisdictional limits of this Court.

                           C. Wrongful Death Damages of Lacy Paige McKee

          6.8      Lacy Paige McKee is the surviving daughter of the decedent, Elizabeth Paige

 Hawkins. As a direct and/or proximate result of Elizabeth Paige Hawkins’ death, Lacy Paige McKee

 has suffered damages in the past, and in all reasonable probability, will continue to suffer in the

 future as follows:

          a.       Loss of companionship and society to including, but not limited to, love,
                   comfort, companionship and society that Lacy Paige McKee, in reasonable
                   probability, would have received from Elizabeth Paige Hawkins had she
                   lived.

          b.       Emotional pain, torment and suffering experienced by Lacy Paige McKee
                   because of the death of Elizabeth Paige Hawkins.

          6.9      By reason of the above and foregoing, Lacy Paige McKee has been damaged in an

 amount in excess of the minimum jurisdictional limits of this Court.

                                                  VII.

          7.1      Plaintiffs would show that the outrageous, malicious and otherwise morally culpable

 conduct of the Defendants was such that exemplary damages should be awarded against the

 Defendants.

          7.2      Exemplary damages should be awarded against the Defendants in an amount in excess

 of the minimum jurisdictional limits of this Court.




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                                         VIII. NOTICE PROVISIONS

          8.1      Plaintiffs have complied with the Texas Civil Practice and Remedies Code §74.051

 and provided written notice by certified mail, return receipt requested to Defendants, Nexion Health

 at Bogata, Inc. d/b/a Regency Healthcare and Rehabilitation Center at Red River and Nexion Health

 Management, Inc., of their claim prior to filing this lawsuit.

          8.2      Pursuant to Texas Civil Practice and Remedies Code §74.053, Plaintiffs do not state

 the amount of money by which they have been damaged but state that such sum is well within the

 jurisdiction of this Court.

                                        IX. DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand a trial by jury.

                                          X. PRAYER FOR RELIEF

          PREMISES CONSIDERED, Plaintiffs request the Defendants be cited to appear and answer

 and, that on final trial, Plaintiffs have:

          a.       Judgment against Defendants for Plaintiffs’ actual damages as set forth above
                   in an amount within the jurisdictional limits of this Court;

          b.       Exemplary damages;

          c.       Pre-judgment and post-judgment interest as provided by law;

          d.       Costs of court; and

          e.       Such other and further relief to which Plaintiffs may show themselves justly
                   entitled.




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                                        Respectfully submitted,

                                        SMITH WEBER, L.L.P.
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                                        Facsimile: 903/223-5652

                                        By:     /s/ J. Michael Smith
                                               __________________________
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                                        ATTORNEYS FOR PLAINTIFFS




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